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             Exhibit 1
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                                                          Earn - Update



                                                                 Max Hastings <max.jacob.hastings@gmail.com>



Gemini Earn - Update
2 messages

Gemini <hello@news.gemini.com>                                                       Fri, Dec 23, 2022 at 8:42 PM
Reply-To: hello@gemini.com
To: max.jacob.hastings@gmail.com




              Hi there,

              We are writing to remind you that all Earn updates and FAQs are posted to our
              Earn update page here. At a minimum, we will post to this page every Tuesday
              and Friday until a resolution is reached. We are striving to provide as much
              transparency as possible in the process.

              We greatly appreciate your patience while we work towards a resolution for the
              recovery of your assets. We continue to work with Genesis and DCG and are
              operating with the utmost urgency. All parties remain engaged and collaborative.
              We will continue to work on your behalf around the clock through the holidays —
              we will not be slowed down because of this.

              As part of our recovery efforts, we have entered into a new Master Loan
              Agreement (MLA) with Genesis. The only difference between the old MLA and
              new MLA is the dispute resolution provision. We have determined that a different
              arbitration forum — National Arbitration and Mediation — can better streamline
              the resolution of any potential dispute so that we can maximize our efforts to
              achieve a timely and global resolution for you to get your assets back. This
              directly benefits you and all Earn users. Your support and understanding has
              allowed us to focus entirely on advocating for you and the return of your assets
              — it is truly appreciated.

              If you have not already agreed to the new MLA and you do not agree to be bound
              by it, you should not access or use Gemini and you must send an email from the
              email address registered with your Gemini Account to customer support at
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support@gemini.com within 7 days, saying that you do not agree to the new
MLA. Thank you.

Team Gemini




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